     Case 3:22-cv-01056-AJB-AGS Document 116 Filed 10/25/22 PageID.2188 Page 1 of 2



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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11     BORREGO COMMUNITY HEALTH                           Case No.: 22-cv-01056-AJB-AGS
       FOUNDATION, a California Nonprofit
12
       Public Benefit Corporation,                        ORDER ON DEFENDANT DIANA
13                                                        THOMPSON’S LATE-FILED
                                         Plaintiff,       MOTION TO DISMISS AND
14
                                                          ANSWER
15     v.
                                                          (Doc. Nos. 114, 115)
16
       KAREN HEBETS, an individual; et al.,
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                                     Defendants.
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20          Before the Court is Defendant Diana Thompson’s (“Thompson”) late-filed Motion
21    to Dismiss and Answer. (Doc. Nos. 114, 115.) Pursuant to the Court’s October 6, 2022
22    Order Striking Certain Answers and Motions to Dismiss and Streamlining Deadlines and
23    Briefing Schedules, the deadline to file an answer or otherwise respond to the Complaint
24    was Friday, October 21, 2022. (Doc. No. 100 at 3.)
25          Thompson filed her motion to dismiss on October 24, 2022. (Doc. No. 114.) Because
26    Thompson filed her motion late, did not ask for an extension of the deadline, and made no
27    attempt to explain any excusable neglect on her part, the Court does not find good cause to
28    accept this late filing. See Fed. R. Civ. P. 6(b). Accordingly, the Court DENIES

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                                                                           22-cv-01056-AJB-AGS
     Case 3:22-cv-01056-AJB-AGS Document 116 Filed 10/25/22 PageID.2189 Page 2 of 2



 1    Thompson’s motion to dismiss as untimely. See U.S. Dominator, Inc. v. Factory Ship
 2    Robert E. Resoff, 768 F.2d 1099, 1104 (9th Cir. 1985) (affirming a district judge who did
 3    the same).
 4          Along with her motion to dismiss, Thompson refiled her Answer. (Doc. No. 115.)
 5    The Court, however, had not struck Thompson’s previously (timely) filed Answer. (Doc.
 6    No. 67.) Thompson’s prior Answer should have been struck along with the other answers
 7    the Court struck in its October 6 Order for failure to comply with the local rules, but the
 8    Court inadvertently overlooked the filing. In the interest of fairness and to effectuate the
 9    general purpose of Rule 6(b) to adjudicate cases on the merits, the Court STRIKES
10    Thompson’s previous Answer at Doc. No. 67 but ACCEPTS her late-filed Answer at Doc.
11    No. 115. See Ahanchian v. Xenon Pictures, Inc., 624 F.3d 1253, 1258–59 (9th Cir. 2010)
12    (Federal Rules of Civil Procedure 6(b) “[is] to be liberally construed to effectuate the
13    general purpose of seeing that cases are tried on the merits.”).
14          IT IS SO ORDERED.
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16    Dated: October 25, 2022
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